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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

PRISON LEGAL NEWS, a project of
the HUMAN RIGHTS DEFENSE CENTER,


                      Plaintiff,

                      v.                                          CIV 16-1174 KG/GBW

MANAGEMENT & TRAINING CORPORATION,
a Utah Corporation; RICK MARTINEZ, individually
and in his official capacity; DOES 1-10, individually
and in their official capacities,

                      Defendants.

                             AGREED ORDER OF DISMISSAL

       The parties hereby agree that this case has been settled and that all issues and

controversies have been resolved to their mutual satisfaction. The parties request the Court to

retain jurisdiction to enforce the terms of their settlement agreement under the authority of

Kokkonen v. Guardian Life Insurance Co. of America, 511 U.S. 375, 381-82 (1994):


IT IS HEREBY ORDERED:

       1. The Court shall retain jurisdiction for the purpose of enforcing the terms of the

           settlement agreement entered into on July 28, 2017 (“Settlement Agreement”), a copy

           of which is incorporated by reference as if fully set forth herein, as authorized by

           law. This agreement resolves the dispute that is the subject of this case between the

           parties with respect to the MTC facilities in New Mexico and similar disputes in Ohio

           and nationwide. Any breach of the Settlement Agreement at any of these facilities,

           including but not limited to the North Central Correctional Facility (NCCC) which is

           the subject of Human Rights Defense Center v. Management & Training
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           Corporation, et al., USDC, ND OH, Case No. 3:17-cv-1082, shall only be addressed

           in this Court under this caption and not in any other Court.

       2. Except as provided for in paragraph 1 above, this case is dismissed, with prejudice.

       WHEREFORE, having fully read and considered the provisions set forth in the

Settlement Agreement, the Plaintiff and Defendants having stipulated and agreed to the above

terms and conditions therein, and the approval of the same.

IT IS SO ORDERED.


                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE

Stipulated and Agreed to:


Sabarish P. Neelakanta
/s/Sabarish P. Neelakanta
Counsel for Plaintiff


Christina Muscarella Gooch
/s/Christina Muscarella Gooch
Counsel for Defendants




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